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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ZACHARY J., ET AL.                              :
                                                 :             CIVIL ACTION
               v.                                :
                                                 :             NO. 19-0652-JMY
 COLONIAL SCHOOL DISTRICT                        :
                                                 :

                                            ORDER

       NOW, this 24th day of February, 2022, upon consideration of the Motion for Judgment

on the Administrative Record filed by Plaintiffs (ECF No. 15) and the Cross-Motion for Judgment

on the Administrative Record filed by Defendant (ECF No. 19), and all papers submitted in support

thereof and in opposition thereto, it is hereby ORDERED and DECREED that the Defendant’s

Motion is GRANTED and the Plaintiffs’ motion is DENIED.

       The Clerk of Court is DIRECTED to CLOSE this case.



                                                     BY THE COURT:


                                                      /s/ John Milton Younge
                                                     JUDGE JOHN MILTON YOUNGE
